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                               UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF OHIO
                                     WESTERN DIVISION



Pamela Steward, et al.,                                         Case No. 3:18-cv-2905

                          Plaintiffs,

        v.                                                      MEMORANDUM OPINION
                                                                    AND ORDER

Roppe Corporation, et al.,

                          Defendants.



        On March 6, 2020, Defendant Roppe Corporation inadvertently produced documents

protected by attorney-client privilege. Plaintiffs’ counsel realized this when reviewing the documents

and notified Roppe’s counsel via email on June 3, 2020. (Doc. No. 102-7). But Roppe’s counsel did

not respond to Plaintiffs’ email. It was not until March 11, 2021 that Roppe’s counsel realized the

inadvertent disclosure and requested Plaintiffs’ counsel return or destroy those documents. (Doc.

No. 102-8). Plaintiffs’ counsel refused, arguing Roppe had waived its privilege by failing to take

reasonable steps to (1) prevent disclosure and (2) rectify the error, as required by Rule 502(b) of the

Federal Rules of Evidence. (Doc. No. 102-9).

        Roppe now formally moves for an order requiring Plaintiffs to return or destroy

inadvertently produced privileged documents. (Doc. No. 98). Plaintiffs filed an opposition brief,

(Doc. No. 102), and Roppe filed a reply. (Doc. No. 103).

        Roppe alleges the documents must be returned or destroyed pursuant to the terms of the

ESI Stipulation, which states, “The Parties agree that FRCP 26 (b)(5)(B) shall govern any inadvertent

disclosure or production of any privileged or protected material.” (Doc. No. 40 at 6). Plaintiffs do
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not dispute that the ESI Stipulation and, in turn, Rule 26(b)(5)(B) governs this dispute. But

Plaintiffs argue that because Rule 26(b)(5)(B) does not address the issue of waiver, Rule 26(b)(5)(B)

must be read in conjunction with Rule 502(b) and “the default provisions of Rule 502 apply.” (Doc.

No. 102 at 6). That is not the case.

       While it is true that Rule 26(b)(5)(B) does not address the issue of waiver, I have. As I

expressly stated in the Amended Case Management Order, “Pursuant to Evidence Rule 502(d), an

inadvertent disclosure of a communication or information covered by the attorney-client privilege or

work-product protection made in connection with this litigation shall not constitute a waiver of that

privilege or protection in this or any other federal or state proceeding.” (Doc. No. 24 at 2).

       Because there is no dispute that the documents at issue would be protected by attorney-

client privilege in the absence of waiver, and because I have ordered that inadvertent disclosure shall

not constitute waiver, Plaintiffs’ counsel “must promptly return, sequester, or destroy the specified

information and any copies it has.” Fed. R. Civ. P. 26(b)(5)(B). Roppe’s motion is granted. (Doc.

No. 98).



       So Ordered.

                                                       s/ Jeffrey J. Helmick
                                                       United States District Judge




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